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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

PENSCOLA DIVISION
THOMAS STALLWORTH And
WILLIE MAE STALLWORTH
Plaintiffs,
CASE NO. 3:06CV89MCR/EMT
VS.

THE HARTFORD INSURANCE
COMPANY, et. al,
Defendants

PLAINTIFFS RESPONSE TO SERVE SECOND AMENDED
COMPLAINT ON THE HARTFORD INSURANCE COMPANY

A DELAWARE CORPORATION AND HARTFORD INSURANCE
COMPANY OF THE MIDWEST, AN INDIANA CORPORATION

NOW COME THOMAS STALLWORTH and WILLIE MAE STALLWORTH,
Plaintiffs herein who file this second amended complaint to the Law Firm of Cole, Scott &
Kissane, P.A., as agreed by Mr. Joseph T. Kissane by telephone on the date of February 14, 2007.

Please see a copy of the attached letter.

Respectfully Submitted
af )

ff Aff

’ fi’ ‘
Lr FF
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oe J 4
‘THOMAS. STALLWORTH

/

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P.O. BOX 941148
HOUSTON, TEXAS 77094
832 379-8840

FEBRUARY 26, 2007

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February 14, 2007

Thomas Stallworth
P. O. Box 941148
Houston, TX, 77094

Re: Thomas Stallworth v. Hartford Ins. Co.
Dear Mr. Stallworth:

This will confirm our conversation of February 14, 2007 during which I advised you that you
had erroneously served Hartford Insurance Company of the Midwest with the original Complaint in
this matter. As you know, this original Complaint has now been superseded by an amended pleading
you filed. As J indicated to you, the Hartford Insurance Company of the Midwest is only obligated to
respond to the operative pleading. Rather than file a Motion to Dismiss and have you go through the
process of reserving this entity, I am agreeable to accepting service of the amended pleading on
behalf this entity via mail. As agreed, I will file a responsive pleading on behalf of this entity via
mail. As agreed, I will file a responsive pleading on behalf of that entity within ten (10) days of
receipt of that mailing.

Should anything in this letter fail to reflect our agreement, please contact me.

Very truly yours,

JTK:hjc

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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

THOMAS STALLWORTH, et. a.l
Plaiintiffs,

vs. Case No. 3:06cv89/MCR/EMT
THE HARTFORD INSURANCE
COMPANY, et. al,

Defendants

SECOND AMENDED COMPLAINT

NOW COME THOMAS STALLWORTH and WILLIE MAE STALLWORTH,
Plaintiffs herein who file this second amended complaint for actual damages,
compensatory damages, and for punitive and exemplary damages against The Hartford
Insurance Company and Hartford Insurance Company of the Midwest; and in support of

the said attended complaint would show the court as follows:

JURISCICTION AND VENUE

This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. 1332
as well as supplemental jurisdiction under 28 U.S.C. 1367 to hear the state claims that
will be set forth in this complaint. Venue for this action is proper in the Northern District
of Florida, Pensacola Division because it is the district in which a substantial part of the

events or omissions giving rise to this cause occurred as described in 28 U.S.C. 1391.

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2. Plaintiffs Thomas Stallworth and Willie Mae Stallworth (hereinafter “Plaintiffs”
are husband and wife; and are both Texas residents and domiciled in Houston, Harris
County, Texas. Their mailing address is P.O. Box 941148, Houston, Texas 77094.

3. Defendant Hartford Insurance Company of the Midwest is an Indiana Corporation
doing business in the state of Florida. Hartford Insurance Company of the Midwest may
be served with the process by delivery to its registered agent Corporation Service
Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana 46204.

4. Defendant The Hartford Insurance Company has been served with process and
has made an appearance in this case.

5. Whenever in this complaint it is alleged that any defendant did any act or thing,
either by commission or omission, it is meant that each and every defendant, by and
through its officers, agents, servants, employees, or representatives, jointly and severally,
did such act thing commission or omission; and that at the time it was done it was done
with the full authorization, approval, ratification, assent and consent of each and every
defendant; and was done in the normal and routine course and scope of employment of
the aforementioned officers, agents, servants, employees, or representatives.

FACTS AND ALLEGATIONS

6. While residing in Pensacola, Florida in 1997, plaintiff’s purchased a policy of
automobile insurance from The Hartford Insurance Company of the Midwest. Plaintiff's

began to pay the required premiums under the terms of the insurance policy; and
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continued to make timely premium payments thereafter. The policy limits for the subject
Hardford policy of insurance was in the amount of Five Hundred Thousand
($500,000.00) Dollars. A copy of the Hartford insurance policy declarations page is
attached to this amended complaint as Exhibit “A”.

7. On May 4, 1999 plaintiffs received serious, painful and disabling bodily injuries
as a result of an automobile accident which occurred in Escambia County, Florida.
Plaintiffs were not at fault in the occurrence of this vehicular collision. At the time of
this accident, plaintiffs’ insurance policy with the Hartford was in full force and effect.

8. After the accident and after plaintiff's initial contacts with the insurer of the other
party to the automobile accident, plaintiffs sent a letter to the Hartford claims adjuster,
Sean Manley. The letter advised of the occurrence of the accident; related the details of
plaintiffs’ initial contacts with the offending driver, and referenced the necessity and
urgency of a prompt and timely tender by Hartford of appropriate coverage and benefit
payments under the terms of the Hartford policy. The Hartford declined plaintiff
Stallworth’s request and invitation to litigate on Stallworth’s behalf the accident case
against the offending driver.

9. Defendant Hartford intentionally refused and denied payment of medical benefits
under their policy with plaintiffs; and has continued and continues today to refuse; deny

and delay any payment to plaintiffs.
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Plaintiffs have submitted proof of their injuries, medical records, as well as responses to
defendant’s questioning regarding the accident and resulting injuries. No reasonable
basis exists for the defendant’s refusal, denial or delay in tendering the coverage and
benefit payments due and payable under the terms of the policy of insurance.

10. Plaintiffs have settled the underlying tort, injury and damage claims against the
automobile crash defendants in Florida state court. That underlying action was styled

Stallworth, et. al., v Oaks, et. al., No. 03-CA-0296 in the First Judicial Circuit Court,

Escambia County, Florida. The tort, injury and damage claims in that litigation were
settled for Fifty Thousand Dollars ($50,000).

11. Further, the Hartford defendants have failed to acknowledge with reasonable
promptness pertinent communications from plaintiffs with respect to plaintiffs’ claims.
Additionally, the Hartford has not attempted in good faith to effectuate a prompt, fair and
equitable settlement of plaintiffs’ claim submitted in a situation where Hartford’s liability
has become reasonably clear.

12. Further, the Hartford defendants have failed to provide in a timely manner any
reasonable explanation of the basis in the policy of insurance for the denial of plaintiffs’
claims; or for the failure to offer to plaintiffs any compromise settlement. The Hartford
defendants’ actions were wanton, willful and intentional and were the prOoximate and

producing cause of the damages complained in herein.
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13. These deliberate, knowing and willful actions on the part of defendants Hartford
Insurance Company and Hartford Insurance Company of the Midwest represent an
ongoing and continuous pattern of fraud and bad faith business practices engaged in by
defendants and their dadre of affiliated corporate entities. Legal claims and complaints
alleging the same and similar acts complained of herein have been filed in other courts
including, inter alia, that certain class styled “Frances Perry, et al. v. Hartford Accident
& Indemnity Company, et al., No. 2-03-CV-040 in the United States District for the
Eastern District of Texas, Marshall Division thereinafter (“Perry Class Action’’); as well
as the cause filed in the Eleventh State Judicial Circuit Court of Florida and styled
“Lucille Roker, et al. v. Hartford Insurance Company of the Midwest, et al.; Case No. 98-
14350 CA 32 (hereinafter “Hartford PIP Settlement’).

FIRST CLAIM FOR RELIEF

14. BREACH OF CONTRACT. All of the allegations contained in Paragraphs 6

through 12 are incorporated herein by referenced, the same as if fully set out verbatim for
any all purposes of this pleading.

15. Defendants’ conduct represents a breach of contract for insurance entered into by
the parties. Defendants acted willfully and intentionally in refusing to tender benefits and
payments under the terms of the policy of insurance. Plaintiffs sue for the actual and
consequential damages arising as a direct and proximate result of the breach, as well as

the full policy limits of the policy of insurance.
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16. Additionally, defendant Hartford’s conduct demonstrated a conscious and
extreme indifference to the rights of its insured; therefore plaintiffs please and sue for
punitive and exemplary damages as provided by law.

SECOND CLAIM FOR RELIEF

17. BREACH OF THE WARRANTY OF GOOD FAITH AND FAIR DEALING.

All of the allegations contained in Paragraphs 6 through 12 are incorporated herein by
reference; the same is fully set out verbatim for any and all purposes of his pleading.
18. Plaintiffs were entitled to rely on the representations made by Hartford at the time
in which the parties entered into the contract for insurance. Hartford’s conduct violates
both the consumer protection provisions of the Florida Insurance Doe, and specifically
Fla. Stat. §627.736 e; seq.; as well as the common law duty of good faith and fair dealing.
Accordingly, plaintiffs sue for all actual and economic damages arising out of the failure
of defendant to tender benefits under the terms of the policy of insurance and all
applicable state law.
DAMAGES

As a result of the foregoing and wrongful acts of the defendants plaintiffs have
suffered general damages, including but not limited to emotional and mental distress.
Personal humiliation and shock, along with severe emotional distress. Further, Plaintiffs
have been forced to come to endure physical pain and discomfort resulting from the
underlying and original automobile accident; pain and discomfort which could and
should have been remedied long ago had defendants offered policy benefits sufficient to

cover the cost of needed medical care and attention.
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To the extent possible, plaintiffs have suffered the out-of-pocket costs of intermittent but
necessary medical care associated with the treatment of their containing pain and
discomfort.
The persistence of said pain and discomfort was the natural, likely and foreseeable
consequence of defendant Hartford’s failure to tender benefits under the policy of
insurance. Additionally, plaintiffs seek punitive and exemplary damages. Punitive and
exemplary damages are designed to punish and deter parties such as defendants who have
engaged in egregious wrongdoing; or where defendant’s conduct is shown be motivated
by evil motive or intent, malice or actual malice, or when it involves reckless or callous
indifference to the contractually protected rights of others.
PRAYER

Plaintiffs pray that defendants The Hartford Insurance Company and the Hartford
Insurance Company of the Midwest be cited to appear and to answer herein; and that
upon final trial in this matter, Plaintiffs have judgment against the defendants, jointly and
severally, for the full policy limits of the subject insurance policy as actual, special and
compensatory damages, and as an amount adequate to redress the injuries incurred by
plaintiffs; that the court assess punitive and exemplary damages against these same
defendants in an amount sufficient to punish and to deter against similar future conduct.
Plaintiff further prays that he recover against defendants all reasonable attorneys’ fees

should they become necessary interest on the judgment from the date it is rendered
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together with prejudgment interest at the legal rate, as well as any and all such other
further relief to which at law or equity plaintiffs may show themselves justly entitled.

PLAINTIFFS DEMAND TRIAL BY JURY

Respectfully Submitted,

PLAINTIFF

By: “

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P.O. Box 941148

Houston, Texas 77094
832-379-8840

PRO-SE

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WILLIE MAE (lie Meee
P.O. Box 941148

Houston, Texas 77094
832-379-8840

PRO-SE

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the above and foregoing
Second Amended Complaint was mailed to Joseph T. Kissane, attorney for The Hartford
Insurance Company, 1805 Copeland Street, Jacksonville, Florida 32284, by depositing
same with the United States Postal Service at Houston, Texas on this A Oday of
February, 2007.

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atoms E STALLWORTH

